             Case 2:17-cv-01387-JCC Document 173 Filed 03/31/23 Page 1 of 36



1
                                                                     The Honorable John C. Coughenour
2

3

4
                                UNITED STATES DISTRICT COURT
5                         FOR THE WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
6
     In re Zillow Group, Inc.
7    Securities Litigation                              No. 2:17-cv-01387-JCC
8
                                                        STIPULATION OF SETTLEMENT
9

10

11
            This Stipulation of Settlement dated as of March 31, 2023 (together with all Exhibits
12
     hereto, “Stipulation”), which is entered into, by and through their undersigned attorneys, between
13
     (i) Class Representatives Johanna Choy, Raymond Harris, Jo Ann Offutt (“Class
14
     Representatives”), on behalf of themselves and the Class (as defined herein) and (ii) Zillow
15
     Group, Inc. (“Zillow”), Spencer M. Rascoff, and Kathleen Philips (“Defendants” and with Class
16
     Representatives, “Parties”), states all of the terms of the settlement and resolution of this matter
17
     by the Parties, and is intended by the Parties to fully and finally compromise, settle, release,
18
     resolve, remise, discharge, and dismiss with prejudice the above-captioned action (“Action”) and
19
     all Released Claims (as defined herein) against the Released Parties (as defined herein), as set
20
     forth below.
21
            Throughout this Stipulation, all terms used with initial capitalization, but not immediately
22
     defined, shall have the meanings ascribed to them in Paragraph 1 (entitled “Definitions”), below.
23
     WHEREAS:
24
                                                The Action
25
            A.      On August 22, 2017, the action Vargosko v. Zillow Group, Inc., et al., Case No.
26
     2:17-cv-06207, was filed in the U.S. District Court for the Central District of California, alleging
     violations of Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (“Exchange Act”)


     STIPULATION OF SETTLEMENT                                 PRAESIDIO CONSUMER LAW PLLC
     1                                                         1916 Pike Place, Suite 12 Seattle, WA 98101 (646) 202-0629
             Case 2:17-cv-01387-JCC Document 173 Filed 03/31/23 Page 2 of 36



1
     (the “Vargosko Action”). On September 14, 2017, the action Shotwell v. Zillow Group, Inc., et
2
     al., Case No. 2:17-cv-01387 (W.D. Wash.) was commenced alleging the same claims (the
3
     “Shotwell Action”). Dkt. No. 1.1
4
            B.      Pursuant to a Private Securities Litigation Reform Act of 1995 (“PSLRA”) notice,
5
     on October 23, 2017, Class Representatives, timely filed a motion seeking appointment as lead
6
     plaintiffs and approval of their counsel, The Rosen Law Firm, P.A. (“Rosen Law”), in the
7
     Vargosko Action.
8
            C.      On November 15, 2017, the Vargosko Action was transferred to this Court.
9
            D.      On November 16, 2017, Plaintiff James Shotwell filed an amended complaint in
10
     the Shotwell Action, adding claims under Sections 11 and 15 of the Securities Act of 1933
11
     (“Securities Act”). Dkt. No. 10.
12
            E.      On December 15, 2017, Class Representatives filed a renewed motion seeking
13
     appointment as Lead Plaintiffs, approval of Rosen Law as Lead Counsel, and to consolidate the
14
     Vargosko Action and the Shotwell Action. Dkt. No. 15. On January 5, 2018, the Court granted
15
     Class Representatives’ motion, consolidated the actions and restyled the action as In re Zillow
16
     Group, Inc. Securities Litigation, Case No. 2:17-cv-01387-JCC (W.D. Wash.) (as defined below
17
     as the “Action”). The Court appointed Class Representatives as Lead Plaintiffs, appointed Rosen
18
     Law as Lead Counsel, and appointed Hall & George PLLC as Local Counsel. Dkt. No. 29.2
19          F.      Class Representatives filed the Consolidated Amended Complaint on February
20   16, 2018 (Dkt. No. 35) and Defendants filed a motion to dismiss on April 5, 2018. Dkt. No. 36.
21   Class Representatives opposed the motion to dismiss on May 21, 2018 (Dkt. No. 39), and
22   Defendants filed a reply on June 20, 2018. Dkt. No. 42. On October 2, 2018, the Court granted
23   Defendants’ motion to dismiss, permitting Class Representatives leave to amend the Exchange
24   Act claims and dismissing the Securities Act claims with prejudice.
25
     1
       Citations to docket numbers are to the Shotwell Action.
26   2
       Colin M. George, formally of Hall & George PLLC, currently is associated with Praesidio
     Consumer Law PLLC. Mr. George has served as Local Counsel for Class Representatives since
     the transfer of the Vargosko Action to this Court.


     STIPULATION OF SETTLEMENT                               PRAESIDIO CONSUMER LAW PLLC
     2                                                       1916 Pike Place, Suite 12 Seattle, WA 98101 (646) 202-0629
             Case 2:17-cv-01387-JCC Document 173 Filed 03/31/23 Page 3 of 36



1
            G.      Class Representatives timely filed the operative Second Consolidated Amended
2
     Complaint on November 16, 2018. Dkt. No. 47. On December 17, 2018, Defendants filed a
3
     motion to dismiss (Dkt. No. 50), which Class Representatives opposed on January 16, 2019. Dkt.
4
     No. 51. The motion was fully briefed on February 6, 2019 with the filing of Defendants’ reply.
5
     Dkt. No. 53. On April 19, 2019, the Court denied Defendants’ motion to dismiss. Dkt. No. 54.
6
     Defendants filed an Answer on May 3, 2019. Dkt. No. 55.
7
            H.      The Parties began discovery in the fall of 2019. The Parties exchanged
8
     documents, interrogatories, and requests for admission, and conducted numerous fact witness
9
     depositions.
10
            I.      With fact discovery underway, on October 11, 2019, Class Representatives filed a
11
     motion for class certification, including a report from a market efficiency expert, Dr. Zachary
12
     Nye. Dkt. No. 74.
13
            J.      Defendants deposed all three Class Representatives in February 2020 and deposed
14
     Dr. Nye on March 10, 2020.
15
            K.      On March 20, 2020, Defendants filed their opposition to the class certification
16
     motion, including an expert report from Lucy P. Allen. Dkt. Nos. 86-87.
17
            L.      On May 29, 2020, Class Representatives filed their reply in further support of
18
     their motion for class certification, including a rebuttal report from Dr. Nye. Dkt. Nos. 92-93.
19          M.      On October 28, 2020, the Court certified the Class. Dkt. No. 100.
20          N.      On November 12, 2020, Defendants petitioned the Ninth Circuit for interlocutory
21   appeal of the Court’s order granting class certification. Jo Ann Offutt, et al., v. Zillow Group,
22   Inc., et al., Case No. 20-80155 (9th Cir.). Class Representatives opposed the request for
23   interlocutory appeal on November 24, 2020. On February 17, 2021, the Ninth Circuit denied
24   Defendants’ petition for interlocutory appeal.
25          O.      On March 8, 2021, Class Representatives informed the Court that Strategic
26   Claims Services (“SCS”), on the Class Representatives’ behalf, notified Zillow investors that the




     STIPULATION OF SETTLEMENT                                 PRAESIDIO CONSUMER LAW PLLC
     3                                                         1916 Pike Place, Suite 12 Seattle, WA 98101 (646) 202-0629
               Case 2:17-cv-01387-JCC Document 173 Filed 03/31/23 Page 4 of 36



1
     Court had certified the Class and notified investors of their options in the Action. Dkt. No. 111.
2
     Class Representatives filed SCS’s supplemental declaration on April 28, 2021. Dkt. No. 114.
3
               P.   The Parties completed fact discovery on November 17, 2021. The Parties
4
     subsequently exchanged both affirmative and rebuttal expert reports.
5
                                              The Settlement
6
               Q.   The Parties participated in two mediation sessions, neither of which resulted in
7
     settlement: (i) a session with Michelle Yoshida of Phillips ADR on October 30, 2020; and (ii) a
8
     session with Layne Phillips (Ret.) of Phillips ADR, on January 24, 2022. Both mediation
9
     sessions involved the exchange of detailed opening and reply mediation statements.
10
               R.   In the summer of 2022, the Parties began settlement talks directly. The Parties
11
     discussed settlement over the phone multiple times, and conducted a full day settlement meeting
12
     on October 11, 2022. At that meeting the Parties reached a settlement in principle.
13
               S.   This Stipulation memorializes the agreement between the Parties to fully and
14
     finally settle the Action and to fully release all Released Claims against Defendants and the
15
     Released Parties with prejudice in return for the consideration specified herein.
16
                            Defendants’ Denial of Wrongdoing and Liability
17
               T.   Throughout this Action, Defendants have denied, and continue to deny, any and
18
     all allegations of fault, liability, wrongdoing, or damages whatsoever arising out of any of the
19
     conduct, statements, acts, or omissions alleged, or that could have been alleged, in the Action.
20
     Defendants have denied, and continue to deny, the allegations that Class Representatives or any
21
     Class Member has suffered damages or was harmed by any of the conduct alleged in the Action
22
     or that could have been alleged as part of the Action. In addition, Defendants maintain that they
23
     have meritorious defenses to all claims in the Action. Defendants continue to believe the claims
24
     asserted against them in the Action are without merit and have agreed to enter into the Settlement
25
     set forth in this Stipulation solely to avoid the expense, time and uncertainty associated with the
26
     Action.




     STIPULATION OF SETTLEMENT                                 PRAESIDIO CONSUMER LAW PLLC
     4                                                         1916 Pike Place, Suite 12 Seattle, WA 98101 (646) 202-0629
             Case 2:17-cv-01387-JCC Document 173 Filed 03/31/23 Page 5 of 36



1
            U.      Defendants have concluded that it is desirable that the Action be fully and finally
2
     settled in the manner and upon the terms and conditions set forth in this Stipulation.
3
                        Class Representatives’ Claims and Benefits of Settlement
4
            V.      Class Representatives believe that the claims they asserted in the Action on their
5
     own behalf and on behalf of the Class have merit. Class Representatives, however, recognize and
6
     acknowledge the expense and length of continued proceedings necessary to prosecute the Action
7
     against Defendants through trial and appeals. Class Representatives have also taken into account
8
     the uncertain outcome and the risk of any litigation. In particular, Class Representatives
9
     considered the challenges of conducting further discovery, the risks associated with anticipated
10
     motions for summary judgment, and the risk of trial and any subsequent appeals. Class
11
     Representatives determined, therefore, that the Settlement set forth in this Stipulation is fair,
12
     adequate, reasonable, and in the best interests of the Class.
13
            NOW, THEREFORE, without any concession by the Class Representatives that the
14
     Action lacks merit, and without any concession by the Defendants of any liability or wrongdoing
15
     or lack of merit in their defenses, IT IS HEREBY STIPULATED AND AGREED by and
16
     among Class Representatives (on their behalf and on behalf of each of the Class Members) and
17
     Defendants, by and through their respective undersigned counsel, that, subject to the approval of
18
     the Court, in consideration of the benefits flowing to the Parties from the Settlement set forth
19   herein, the Action and the Released Claims as against the Released Parties shall be finally and
20   fully compromised, settled and released, the Action shall be dismissed with prejudice and the
21   Released Claims shall be fully, finally, and forever compromised, settled, released, discharged,
22   and dismissed with prejudice, upon and subject to the following terms and conditions:
23          1.      Definitions
24          In addition to the terms defined above, the following capitalized terms, used in this
25   Stipulation, shall have the meanings specified below:
26                  1.1.    “Action” means the class action captioned In re Zillow Group, Inc.
     Securities Litigation, Case No. 2:17-cv-01387-JCC (W.D. Wash.).



     STIPULATION OF SETTLEMENT                                  PRAESIDIO CONSUMER LAW PLLC
     5                                                          1916 Pike Place, Suite 12 Seattle, WA 98101 (646) 202-0629
             Case 2:17-cv-01387-JCC Document 173 Filed 03/31/23 Page 6 of 36



1
                    1.2.    “Administrative Costs” means all costs and expenses associated with
2
     providing notice of the Settlement to the Class and otherwise administering or carrying out the
3
     terms of the Settlement. Such costs may include, without limitation: (i) the costs of publishing
4
     and disseminating the Notice to Class Members; (ii) the costs of printing and mailing the Notice
5
     and Proof of Claim, as directed by the Court,; (iii) the costs of allocating and distributing the Net
6
     Settlement Fund to the Authorized Claimants; and (iv) fees related to the Escrow Account,
7    including Escrow Agent costs. Administrative Costs do not include legal fees.
8                   1.3.    “Authorized Claimant” means any Class Member who is a Claimant and
9    whose claim for recovery has been allowed pursuant to the terms of this Stipulation, the exhibits
10   hereto, and any order of the Court.
11                  1.4.    “Award to Class Representatives” means the requested reimbursement to
12   the Class Representatives for their reasonable costs and expenses directly related to their
13   representation of the Class in the Action.

14                  1.5.    “Business Day” means any day except Saturday, Sunday, or any legal

15   holiday as defined by Federal Rule of Civil Procedure 6(a)(6).

16                  1.6.    “Claimant” means any Class Member who files a Proof of Claim in such

17   form and manner, and within such time, as the Court shall permit.

18
                    1.7.    “Claims” means any and all manner of claims, debts, demands,

19
     controversies, obligations, losses, costs, interest, penalties, fees, expenses, rights, duties,

20
     judgments, sums of money, suits, contracts, agreements, promises, damages, causes of action and
     liabilities, of every nature and description in law or equity (including, but not limited to, any
21
     claims for damages, whether compensatory, special, incidental, consequential, punitive,
22
     exemplary or otherwise, injunctive relief, declaratory relief, recession or recessionary damages,
23
     interest, attorneys’ fees, expert or consulting fees, costs, or expenses), accrued or unaccrued,
24
     known or unknown, arising under federal, state, common, administrative, or foreign law, or any
25
     other law, rule, or regulation.
26




     STIPULATION OF SETTLEMENT                                 PRAESIDIO CONSUMER LAW PLLC
     6                                                         1916 Pike Place, Suite 12 Seattle, WA 98101 (646) 202-0629
             Case 2:17-cv-01387-JCC Document 173 Filed 03/31/23 Page 7 of 36



1
                      1.8.    “Claims Administrator” means Strategic Claims Services, which shall
2
     administer the Settlement.
3
                      1.9.    “Class” means the Court-certified Class consisting of all persons who
4
     purchased or otherwise acquired Zillow securities between November 17, 2014 and August 8,
5
     2017, both dates inclusive, excluding Defendants herein, the officers and directors of the
6
     Company at all relevant times, members of their immediate families and their legal
7    representatives, heirs, successors or assigns and any entity in which Defendants have or had a
8    controlling interest. Also excluded from the Class are persons or entities who filed valid and
9    timely requests for exclusion in accordance with the Court’s Orders dated October 28, 2020 and
10   January 14, 2021.
11                    1.10.   “Class Counsel” means The Rosen Law Firm, P.A.
12                    1.11.   “Class Representatives’ Counsel” means The Rosen Law Firm, P.A.,,
13   Praesidio Consumer Law PLLC and such additional counsel that may work at the direction of

14   Class Counsel.

15                    1.12.   “Class Member” means any one of, and “Class Members” means all of,

16   the members of the Class.

17                    1.13.   “Class Period” means the period from November 17, 2014 through August

18
     8, 2017, both dates inclusive.

19
                      1.14.   “Court” means the United States District Court for the Western District of

20
     Washington.
                      1.15.   “Defendants” means Zillow Group Inc., Spencer M. Rascoff, and
21
     Kathleen Philips.
22
                      1.16.   “Defense Counsel” means Mayer Brown LLP and Perkins Coie LLP.
23
                      1.17.   “Escrow Account” means an interest-bearing escrow account established
24
     by the Escrow Agent at the Huntington National Bank. The Escrow Account shall be managed
25
     by the Escrow Agent, subject to the Court’s supervisory authority, for the benefit of Class
26
     Representatives and the Class in accordance with the terms of the Stipulation and any order of




     STIPULATION OF SETTLEMENT                                 PRAESIDIO CONSUMER LAW PLLC
     7                                                         1916 Pike Place, Suite 12 Seattle, WA 98101 (646) 202-0629
              Case 2:17-cv-01387-JCC Document 173 Filed 03/31/23 Page 8 of 36



1
     the Court. Unless this Stipulation otherwise permits, no amount shall be withdrawn from the
2
     Escrow Account prior to the Effective Date absent written approval of Defendants or their
3
     counsel, or an order of the Court after notice to Defendants.
4
                    1.18.   “Escrow Agent” means Strategic Claims Services or its appointed agents.
5
     The Escrow Agent shall perform the duties as set forth in this Stipulation and any order of the
6
     Court.
7                   1.19.   “Effective Date” shall have the meaning set forth in ¶9.4 of this
8    Stipulation.
9                   1.20.   “Final” when referring to the Final Judgment means: (i) the expiration
10   date of the time provided for filing or noticing any appeal under the Federal Rules of Appellate
11   Procedure; or (ii) if an appeal or request for review is filed, the date the appeal or request for
12   review is dismissed, or the Final Judgment is upheld on appeal or review in all material respects,
13   and is not subject to further review on appeal or by certiorari or otherwise; provided, however,

14   that any dispute or appeals relating solely to the amount, payment or allocation of attorneys’ fees

15   and expenses or the Plan of Allocation shall have no effect on finality for purposes of

16   determining the date on which the Final Judgment becomes Final and shall not otherwise

17   preclude the Final Judgment from becoming Final.

18
                    1.21.   “Final Judgment” means the order and judgment to be entered by the

19
     Court finally approving the Settlement, materially in the form attached hereto as Exhibit B.

20
                    1.22.   “Long Notice” means the Notice of Pendency and Proposed Settlement of
     Class Action, substantially in the form attached hereto as Exhibit A-1.
21
                    1.23.   “Net Settlement Fund” means the Settlement Fund, less: (i) the Fee and
22
     Expense Awards (as defined below); (ii) Administrative Costs; (iii) Taxes and Tax Expenses;
23
     and (iv) other fees and expenses authorized by the Court.
24
                    1.24.   “Notice” means collectively, the Long Notice, the Summary Notice, and
25
     the Postcard Notice, which are to be made available to Class Members substantially in the forms
26




     STIPULATION OF SETTLEMENT                                 PRAESIDIO CONSUMER LAW PLLC
     8                                                         1916 Pike Place, Suite 12 Seattle, WA 98101 (646) 202-0629
             Case 2:17-cv-01387-JCC Document 173 Filed 03/31/23 Page 9 of 36



1
     attached hereto as Exhibits A-1, A-3, and A-4 on the Claims Administrator’s website and/or
2
     mailed to Class Members.
3
                    1.25.   “Party” means any one of, and “Parties” means all of Defendants and
4
     Class Representatives (on behalf of themselves and the Class).
5
                    1.26.   “Person” means an individual, corporation, fund, limited liability
6
     corporation, professional corporation, limited liability partnership, partnership, limited
7    partnership, association, joint stock company, estate, legal representative, trust, unincorporated
8    association, government or any political subdivision or agency thereof, and any business or legal
9    entity and their spouses, heirs, predecessors, successors, representatives, or assigns.
10                  1.27.   “Plan of Allocation” means a plan or formula for allocating the Settlement
11   Fund to Authorized Claimants after payment of Administrative Costs, Taxes and Tax Expenses,
12   and such attorneys’ fees, costs, and expenses as may be awarded by the Court. The Plan of
13   Allocation is not a condition to the effectiveness of this Stipulation, and the Released Parties

14   shall have no responsibility or liability, with respect thereto.

15                  1.28.   “Postcard Notice” means the Postcard Notice, alerting potential Class

16   Members to the availability of the Notice and containing instructions on how Class Members can

17   obtain copies of the Notice and Proof of Claim either by electronic means or by mail,

18
     substantially in the form attached hereto as Exhibit A-4.

19
                    1.29.   “Preliminary Approval Order” means an order preliminarily approving the

20
     Settlement and directing notice thereof to the Class, substantially in the form of the proposed
     order attached hereto as Exhibit A.
21
                    1.30.   “Proof of Claim” means the Proof of Claim and Release Form to be
22
     submitted by Claimants, substantially in the form attached hereto as Exhibit A-2.
23
                    1.31.   “Related Parties” means, with respect to each Released Party, the
24
     immediate family members, employees, officers, directors, attorneys, legal representatives,
25
     accountants, insurers, reinsurers, and agents of each of them, and any person or entity which is or
26
     was related to or affiliated with any Released Party or in which any Released Party has a




     STIPULATION OF SETTLEMENT                                   PRAESIDIO CONSUMER LAW PLLC
     9                                                           1916 Pike Place, Suite 12 Seattle, WA 98101 (646) 202-0629
            Case 2:17-cv-01387-JCC Document 173 Filed 03/31/23 Page 10 of 36



1
     controlling interest, and their present and former parents, subsidiaries, variable interest entities,
2
     divisions, affiliates, employees, officers, directors, attorneys, legal representatives, insurers,
3
     reinsurers, and agents, and the predecessors, heirs, administrators, successors and assigns of the
4
     foregoing.
5
                    1.32.   “Released Claims” means and includes any and all Claims and Unknown
6
     Claims (as defined in ¶1.39) that have been or could have been asserted by or on behalf of any of
7    the Releasing Parties, in any capacity, which arise out of, are based upon, or concern or relate in
8    any way to the purchase, acquisition, holding, sale, or disposition of any Zillow publicly traded
9    securities during the Class Period, including but not limited to any claims alleged in the Action
10   and any claims related to the allegations, facts, transactions, events, matters, occurrences, acts,
11   disclosures, oral or written statements, representations, omissions, failures to act, filings,
12   publications, disseminations, press releases, or presentations involved, related to, set forth,
13   alleged or referred to in the Action. Notwithstanding the foregoing, “Released Claims” does not

14   include derivative claims asserted in the cases entitled: (i) In re Zillow Group, Inc. Shareholder

15   Derivative Litigation, No. 17-cv-01568-JCC (W.D. Wash.); and (ii) In re Zillow Group, Inc.

16   Shareholder Derivative Litigation, No. 17-2-29103 SEA, Superior Court, Washington State,

17   Kings County. “Released Claims” does not include claims to enforce the terms of this Stipulation

18
     or orders or judgments issued by the Court in connection with this Settlement.

19
                    1.33.   “Released Parties” means Defendants and each and all of their Related

20
     Parties, their respective families, parent entities, associates, affiliates or subsidiaries, and each
     and all of their respective past, present or future officers, directors, stockholders, agents,
21
     representatives, employees, attorneys, financial or investment advisors, advisors, consultants,
22
     accountants, investment bankers, commercial bankers, trustees, engineers, agents, insurers, co-
23
     insurers and reinsurers, heirs, executors, general or limited partners or partnerships, personal or
24
     legal representatives, estates, administrators, predecessors, successors and assigns.
25
                    1.34.   “Releasing Parties” means Class Representatives, each and every Class
26
     Member and each of their respective parent entities, associates, affiliates, subsidiaries,




     STIPULATION OF SETTLEMENT                                 PRAESIDIO CONSUMER LAW PLLC
     10                                                        1916 Pike Place, Suite 12 Seattle, WA 98101 (646) 202-0629
            Case 2:17-cv-01387-JCC Document 173 Filed 03/31/23 Page 11 of 36



1
     predecessors, successors, assigns, attorneys, immediate family members, heirs, representatives,
2
     administrators, executors, devisees, legatees, and estates, whether or not they object to the
3
     Settlement set forth in this Stipulation, and whether or not they make a claim for payment from
4
     the Net Settlement Fund.
5
                    1.35.   “Settlement” means the settlement contemplated by this Stipulation.
6
                    1.36.   “Settlement Amount” means fifteen million dollars ($15,000,000).
7                   1.37.   “Settlement Fund” means all funds transferred to the Escrow Account
8    pursuant to this Stipulation and any interest or other income earned thereon.
9                   1.38.   “Settlement Hearing” means the hearing at or after which the Court will
10   make a final decision pursuant to Rule 23 of the Federal Rules of Civil Procedure as to whether
11   the Settlement contained in the Stipulation is fair, reasonable and adequate, and therefore, should
12   receive final approval from the Court.
13                  1.39.   “Summary Notice” means the Summary Notice of Pendency and Proposed

14   Class Action Settlement that the Claims Administrator will cause to be published, substantially

15   in the form attached hereto as Exhibit A-3.

16                  1.40.   “Unknown Claims” means all and includes any and all claims that one or

17   more Releasing Parties does not know or suspect to exist in their favor at the time of the release

18
     of the Released Parties. This includes claims which, if known by him, her or it, might have

19
     affected their settlement with and release of the Released Parties, or might have affected their

20
     decision(s) with respect to the Settlement and the Released Claims, including their decision to
     object or not to object to this Settlement. The Parties and the Releasing Parties, by operation of
21
     the Final Judgment shall be deemed to, and expressly acknowledge that he, she, it or they shall
22
     have, and shall be deemed to have expressly waived and relinquished any and all provisions,
23
     rights, and benefits conferred by any law of any state or territory of the United States or any
24
     other jurisdiction, or principle of common law that is, or is similar, comparable, or equivalent to
25
     California Civil Code ¶ 1542, which provides:
26

                    A general release does not extend to claims that the creditor or releasing
                    party does not know or suspect to exist in his or her favor at the time of


     STIPULATION OF SETTLEMENT                                PRAESIDIO CONSUMER LAW PLLC
     11                                                       1916 Pike Place, Suite 12 Seattle, WA 98101 (646) 202-0629
            Case 2:17-cv-01387-JCC Document 173 Filed 03/31/23 Page 12 of 36



1                   executing the release and that, if known by him or her, would have
                    materially affected his or her settlement with the debtor or released
2
                    party.
3    Class Representatives, Releasing Parties, and/or Released Parties may hereafter discover facts,
4    legal theories, or authorities in addition to or different from those which they now know or
5    believe to be true with respect to the subject matter of the Released Claims, but Class
6    Representatives and Defendants expressly, fully, finally, and forever settle and release, and each

7    other Releasing Party and Released Party shall be deemed to have settled and released, and

8    upon the Effective Date and by operation of the Final Judgment shall have settled and released,

9    fully, finally, and forever, any and all Released Claims, without regard to the subsequent

10   discovery or existence of such different or additional facts, legal theories, or authorities. The

11   Parties expressly acknowledge, and each other Releasing Party and Released Party by operation

12
     of law shall be deemed to have acknowledged, that the inclusion of “Unknown Claims” in the

13
     definition of Released Claims was separately bargained for and a material element of the
     Settlement.
14
            2.      The Settlement Consideration
15
                    2.1.   In consideration of the full and final release, settlement, and discharge of
16
     all Released Claims against the Released Parties, Defendants shall pay, or cause their insurers to
17
     pay the Settlement Amount of $15,000,000 into the Escrow Account, for the benefit of the Class,
18
     within twenty-one (21) days of: (i) entry of the Preliminary Approval Order; or (ii) the date on
19
     which Class Counsel shall have provided Defendants with complete and accurate payment
20
     instructions and a W-9 for the Settlement Fund, whichever is later.
21
                    2.2.   The full payment of the Settlement Amount into the Escrow Account in
22
     accordance with this paragraph fully discharges Defendants’ financial obligations under this
23
     Stipulation and in connection with the Settlement. Class Representatives and Class Members
24
     shall look solely to the Settlement Fund as full, final, and complete satisfaction of all Released
25
     Claims. Under no circumstances will Defendants be required to pay, or cause payment of, more
26
     than the Settlement Amount pursuant to this Stipulation or the Settlement for any reason
     whatsoever, including, without limitation, as Administrative Costs, as compensation to any Class


     STIPULATION OF SETTLEMENT                                PRAESIDIO CONSUMER LAW PLLC
     12                                                       1916 Pike Place, Suite 12 Seattle, WA 98101 (646) 202-0629
             Case 2:17-cv-01387-JCC Document 173 Filed 03/31/23 Page 13 of 36



1
     Member, as payment of Class Representatives’ or any Class Member’s attorneys’ fees and
2
     expenses, or in payment of any fees, expenses, costs, liability, losses, Taxes, or damages
3
     whatsoever alleged or incurred by Class Representatives, any Class Member or Class Counsel,
4
     including but not limited to their attorneys, experts, advisors, agents, or representatives.
5
            3.      Handling and Disbursement of Funds by the Escrow Agent
6
                    3.1.      No monies will be disbursed from the Settlement Fund prior to the
7    Effective Date except:
8                             (a)   As provided in ¶3.4 below;
9                             (b)   As provided in ¶8.2 below;
10                            (c)   As provided in ¶9.9 below, if applicable; and
11                            (d)   To pay Taxes and Tax Expenses (as defined in ¶4.1 below). Taxes
12   and Tax Expenses shall be paid out of the Settlement Fund and shall be considered to be a cost of
13   administration of the Settlement and shall be timely paid by the Escrow Agent without prior

14   Order of the Court.

15                  3.2.      The Escrow Agent shall invest the Settlement Fund in short term

16   instruments backed by the full faith and credit of the United States Government or fully insured

17   by the United States Government or an agency thereof and shall reinvest the proceeds of these

18
     instruments as they mature in similar instruments at their then-current market rates. The Escrow

19
     Agent shall bear all responsibility and liability for managing the Escrow Account and cannot

20
     assign or delegate its responsibilities without approval of the Parties. Defendants, Defense
     Counsel, Defendants’ insurers, and the other Released Parties shall have no responsibility for,
21
     interest in, or any liability whatsoever with respect to any investment or management decisions
22
     executed by the Escrow Agent. The Settlement Fund shall bear all risks related to the
23
     investments of the Settlement Amount in accordance with the guidelines set forth in this ¶3.2.
24
                    3.3.      The Escrow Agent shall not disburse the Settlement Fund except as
25
     provided in this Stipulation, by an order of the Court, or with the written agreement of
26
     Defendants.




     STIPULATION OF SETTLEMENT                                  PRAESIDIO CONSUMER LAW PLLC
     13                                                         1916 Pike Place, Suite 12 Seattle, WA 98101 (646) 202-0629
            Case 2:17-cv-01387-JCC Document 173 Filed 03/31/23 Page 14 of 36



1
                    3.4.     At any time after the Court grants preliminary approval of the Settlement,
2
     the Escrow Agent may, without further approval from Defendants or the Court, disburse at the
3
     direction of Class Counsel up to $750,000 from the Settlement Fund prior to the Effective Date
4
     to pay Administrative Costs. After the Effective Date, an additional $750,000 may be transferred
5
     from the Settlement Fund to pay for any reasonable and necessary Administrative Costs without
6
     further order of the Court.
7           4.      Taxes
8                   4.1.     The Parties agree to treat the Settlement Fund as being at all times a
9    “qualified settlement fund” within the meaning of Treasury Regulation § 1.468B-1. In addition,
10   Class Counsel shall timely make, or cause to be made via the Escrow Agent, such elections as
11   necessary or advisable to carry out the provisions of this ¶4.1, including the “relation-back
12   election” (as defined in Treasury Regulation § 1.468B-1) back to the earliest permitted date.
13   Such elections shall be made in compliance with the procedures and requirements contained in

14   such regulations. It shall be the responsibility of Class Counsel to timely and properly prepare

15   and deliver the necessary documentation for signature by all necessary parties, and thereafter to

16   cause the appropriate filing to occur. Upon written request, the Released Parties will timely

17   provide to Class Counsel the statement described in Treasury Regulation § 1.468B-3(e).

18
                    (a)      For purposes of § 1.468B of the Internal Revenue Code of 1986, as

19
     amended,    and      Treasury   Regulation   §   1.468B-2(k)(3)       promulgated            thereunder,              the

20
     “administrator” shall be Class Counsel. Class Counsel shall timely and properly file, or cause to
     be filed via the Escrow Agent, all informational and other tax returns necessary or advisable with
21
     respect to the Settlement Fund (including without limitation the returns described in Treasury
22
     Regulation § 1.468B-2(k)). Such returns (as well as the election described in this ¶4.1) shall be
23
     consistent with this ¶4.1 and in all events shall reflect that all Taxes (including any estimated
24
     Taxes, interest or penalties) on the income earned by the Settlement Fund shall be paid out of the
25
     Settlement Fund.
26




     STIPULATION OF SETTLEMENT                                PRAESIDIO CONSUMER LAW PLLC
     14                                                       1916 Pike Place, Suite 12 Seattle, WA 98101 (646) 202-0629
             Case 2:17-cv-01387-JCC Document 173 Filed 03/31/23 Page 15 of 36



1
                    (b)       All taxes (including any estimated taxes, interest or penalties) arising with
2
     respect to the income earned by the Settlement Fund, including any taxes or tax detriments that
3
     may be imposed upon the Released Parties with respect to (i) any income earned by the
4
     Settlement Fund for any period during which the Settlement Fund does not qualify as a
5
     “qualified settlement fund” for federal or state income tax purposes, and (ii) the payment or
6
     reimbursement by the Settlement Fund of any taxes or tax detriments described in clause (i)
7    (“Taxes”), and all expenses and costs incurred in connection with the operation and
8    implementation of this ¶4.1 (including, without limitation, expenses of tax attorneys and/or
9    accountants and mailing and distribution costs and expenses or penalties relating to filing (or
10   failing to file) the returns described in this ¶4.1) (“Tax Expenses”), shall be paid out of the
11   Settlement Fund, as appropriate. The Released Parties shall have no liability or responsibility for
12   the Taxes or the Tax Expenses. Taxes and Tax Expenses shall be treated as, and considered to
13   be, a cost of administration of the Settlement and shall be timely paid out of the Settlement Fund

14   without prior order from the Court. The Escrow Agent shall be obligated (notwithstanding

15   anything herein to the contrary) to withhold from distribution to Authorized Claimants any funds

16   necessary to pay such amounts, including the establishment of adequate reserves for any Taxes

17   and Tax Expenses (as well as any amounts that may be withheld under Treasury Regulation §

18
     1.468B-2(1)(2)).      The Released Parties shall have no responsibility for, interest in, or any

19
     liability whatsoever with respect to the acts or omissions of Class Counsel or the Escrow Agent

20
     with respect to the foregoing provided in this ¶4.1. The Parties agree to cooperate with each
     other, and their tax attorneys and accountants, to the extent reasonably necessary to carry out the
21
     provisions of this ¶4.1.
22

23          5.      Preliminary Approval Order, Notice Order, and Settlement Hearing

24
                    5.1.      As soon as practicable after execution of this Stipulation, Class Counsel

25
     shall submit this Stipulation and its exhibits to the Court and shall move for preliminary approval
     of the Settlement set forth in this Stipulation, entry of a preliminary approval order, and approval
26
     for the mailing and dissemination of notice, substantially in the form of Exhibits A, A-1, A-2, A-



     STIPULATION OF SETTLEMENT                                   PRAESIDIO CONSUMER LAW PLLC
     15                                                          1916 Pike Place, Suite 12 Seattle, WA 98101 (646) 202-0629
            Case 2:17-cv-01387-JCC Document 173 Filed 03/31/23 Page 16 of 36



1
     3, and A-4. The Postcard Notice (Exhibit A-4) shall inform potential Class Members of the
2
     availability of the Notice either by first class mail, postage pre-paid, or by electronic delivery.
3
     The Long Notice (Exhibit A-1) shall include the general terms of the Settlement and the
4
     provisions of the Plan of Allocation, and shall set forth the procedure by which recipients of the
5
     Notice may object to the Settlement or the Plan of Allocation. The date and time of the
6
     Settlement Hearing shall be added to the Notice before it is mailed or otherwise provided to
7    Class Members.
8                   5.2.    At the time of the submission described in ¶5.1 hereof, Class
9    Representatives, through Class Counsel, shall request that, after the Notice is provided, the Court
10   hold the Settlement Hearing and (i) approve the Settlement as set forth herein, and (ii) enter a
11   final order and judgment substantially in the form of Exhibit B hereto, as promptly after the
12   Settlement Hearing as possible.
13                  5.3.    It shall be Class Counsel’s sole responsibility to disseminate the Notice to

14   the Class in accordance with this Stipulation and as ordered by the Court. Defendants shall not

15   bear any cost or responsibility for class Notice, administration, or the allocation of the settlement

16   amount among Class Members. Class Members shall have no recourse as to the Released Parties

17   with respect to any claims they may have that arise from any failure of the notice process.

18
                    5.4.    To assist in dissemination of notice, within seven (7) Business Days after

19
     the Court enters a Preliminary Approval Order, Defendants will use their best efforts to provide,

20
     or cause to be provided to Class Counsel or the Claims Administrator, a report showing a record
     of the names of all Zillow shareholders as of the last day of the Class Period (“Class
21
     Information”). Defendants shall provide, or cause to be provided, the Class Information at no
22
     cost to Class Representatives or Class Counsel. To the extent possible, the Class Information
23
     shall be in electronic searchable form, such as an Excel spreadsheet or other form as is
24
     reasonably available to Zillow, containing the Class Information. The Parties acknowledge that
25
     any information Defendants provide to Class Counsel or the Claims Administrator pursuant to
26
     this ¶5.4 shall be treated as confidential and will be used by Class Counsel and/or the Claims




     STIPULATION OF SETTLEMENT                                 PRAESIDIO CONSUMER LAW PLLC
     16                                                        1916 Pike Place, Suite 12 Seattle, WA 98101 (646) 202-0629
               Case 2:17-cv-01387-JCC Document 173 Filed 03/31/23 Page 17 of 36



1
     Administrator solely to deliver the Notice and/or implement the Settlement, including the Plan of
2
     Allocation.
3
                    5.5.    Defendants shall serve any notice of the Settlement required pursuant to
4
     CAFA, 28 U.S.C. § 1715(b), within the time period set forth in said statute. Within fourteen (14)
5
     calendar days after entry of the Preliminary Approval Order, Defendants shall certify to Class
6
     Counsel and file with the Court an affidavit or declaration regarding compliance with CAFA
7    Notice requirements. The Parties agree that they will request, pursuant to 28 U.S.C. § 1715(d),
8    that the Settlement Hearing be scheduled for no earlier than ninety (90) calendar days following
9    the deadline for Defendants to serve the CAFA notice as stated in this paragraph. Defendants
10   shall be responsible for all costs and expenses related to the creation and service of the CAFA
11   notice.
12             6.   Releases and Covenants Not to Sue
13                  6.1.    The obligations incurred pursuant to this Stipulation are in consideration

14   of: (i) the full and final disposition of the Action as against Defendants; and (ii) the Releases and

15   other relief provided for herein. Upon the Effective Date, the Releasing Parties, on behalf of

16   themselves and any other Person claiming (now or in the future) through or on behalf of them,

17   regardless of whether any such Releasing Party ever seeks or obtains by any means, including

18
     without limitation by submitting a Proof of Claim, any disbursement from the Settlement Fund:

19
     (i) shall be deemed by this Settlement to have, and by operation of law and of the Final Judgment

20
     shall have fully, finally, and forever released, relinquished, compromised, settled, waived,
     dismissed, and discharged each and all of the Released Claims (including Unknown Claims)
21
     against the Released Parties, and shall have covenanted not to sue any of the Released Parties
22
     with respect to any of the Released Claims (including any Unknown Claims); (ii) shall be forever
23
     permanently barred, enjoined, and restrained from bringing, commencing, instituting, asserting,
24
     maintaining, enforcing, prosecuting, instituting, assisting, instigating, pursuing, or in any way
25
     participating in, either directly or in any other capacity, the commencement or prosecution of any
26
     action or any other proceeding, asserting any of the Released Claims (including any Unknown




     STIPULATION OF SETTLEMENT                                 PRAESIDIO CONSUMER LAW PLLC
     17                                                        1916 Pike Place, Suite 12 Seattle, WA 98101 (646) 202-0629
            Case 2:17-cv-01387-JCC Document 173 Filed 03/31/23 Page 18 of 36



1
     Claims) against any of the Released Parties or Defense Counsel in any state, federal, or foreign
2
     court of law or equity, arbitration tribunal, administrative forum, or other forum of any kind.
3
     Nothing contained herein shall bar the Releasing Parties from bringing any action or claim to
4
     enforce the terms of this Stipulation or the Final Judgment.
5
                    6.2.   Upon the Effective Date, Defendants, on behalf of themselves and their
6
     Related Parties, shall be deemed to have, and by operation of the Final Judgment shall have,
7    fully, finally, and forever released, relinquished, and discharged Class Representatives, Class
8    Members, Class Representatives’ Counsel, and their Related Parties from all Claims, whether
9    known or unknown, which arise out of, concern or relate to the institution, prosecution,
10   settlement or dismissal of the Action (the “Defendants’ Released Claims”), and shall be
11   permanently enjoined from prosecuting the Defendants’ Released Claims against Class
12   Representatives, Settlement Class Members, Class Counsel, and their Related Parties
13   (collectively, the “Class Representatives’ Released Parties”). Nothing contained herein shall,

14   however, bar the Releasing Parties from bringing any action or claim to enforce the terms of this

15   Stipulation or the Final Judgment.

16                  6.3.   It is understood that Class Representatives and the other Class Members or

17   Defendants, or any of them, may hereafter discover additional or different facts from those that

18
     he, she, or it now knows or believes to be true with respect to the subject matter of the Released

19
     Claims or Defendants’ Released Claims (including Unknown Claims), but the Class

20
     Representatives and Defendants shall, upon the Effective Date, expressly fully, finally, and
     forever discharge, settle, and release, and each Settlement Class Member, upon the Effective
21
     Date, shall be deemed to have, and by operation of law and of the Judgment shall have, expressly
22
     fully, finally, and forever discharged, settled, and released, any and all Released Claims and
23
     Defendants’ Released Claims.
24
                    6.4.   By entering into this Stipulation, Class Representatives and Class
25
     Representatives’ Counsel represent and warrant that they have not assigned, hypothecated,
26
     conveyed, transferred, or otherwise granted or given any interest in the Released Claims to any




     STIPULATION OF SETTLEMENT                                PRAESIDIO CONSUMER LAW PLLC
     18                                                       1916 Pike Place, Suite 12 Seattle, WA 98101 (646) 202-0629
             Case 2:17-cv-01387-JCC Document 173 Filed 03/31/23 Page 19 of 36



1
     other Person, and the Defendants and Defense Counsel represent and warrant that they have not
2
     assigned, hypothecated, conveyed, transferred, or otherwise granted or given any interest in the
3
     Defendants’ Released Claims to any other Person.
4

5           7.      Administration and Calculation of Claims, Final Awards and Supervision
                    and Distribution of the Settlement Fund
6
                    7.1.    Under Class Counsel’s supervision, acting on behalf of the Class, and
7
     subject to such supervision and direction of the Court as may be necessary or as circumstances
8
     may require, the Claims Administrator shall administer and calculate the claims submitted by
9
     Class Members and shall oversee distribution of the Net Settlement Fund (as defined in ¶7.2) to
10
     Authorized Claimants.
11
                    7.2.    The Settlement Fund shall be applied as follows:
12
                            (a)     To pay the Taxes and Tax Expenses described in ¶4.1 above;
13                          (b)     To pay Administrative Costs;
14                          (c)     To pay Class Representatives’ Counsel’s attorneys’ fees and
15                                  expenses and any Award to Class Representatives (“Fee and
16                                  Expense Award”), to the extent allowed by the Court; and
17                          (d)     To distribute the balance of the Settlement Fund, that is, the
18   Settlement Fund less the items set forth in ¶¶7.2(a), (b), and (c) hereof (“Net Settlement Fund”),
19   plus all accrued interest, to the Authorized Claimants as allowed by this Stipulation, the Plan of

20   Allocation, or the Court.

21                  7.3.    Upon and after the Effective Date, the Net Settlement Fund shall be

22   distributed to Authorized Claimants in accordance with the terms of the Plan of Allocation set

23   forth in the Notice and any orders of the Court.

24
                    7.4.    This is not a claims-made settlement, and if all conditions of the

25
     Stipulation are satisfied and the Final Judgment becomes Final, no portion of the Settlement
     Fund will be returned to Defendants. Defendants, Defense Counsel, Defendants’ insurers, and
26
     the other Released Parties shall have no responsibility for, involvement in, interest in, or liability



     STIPULATION OF SETTLEMENT                                  PRAESIDIO CONSUMER LAW PLLC
     19                                                         1916 Pike Place, Suite 12 Seattle, WA 98101 (646) 202-0629
             Case 2:17-cv-01387-JCC Document 173 Filed 03/31/23 Page 20 of 36



1
     whatsoever with respect to the investment or distribution of the Net Settlement Fund, the Plan of
2
     Allocation, the determination, administration, or calculation of claims, the payment or
3
     withholding of Taxes or Tax Expenses, or any losses incurred in connection therewith. No
4
     Person shall have any claims against Class Representatives’ Counsel, the Claims Administrator,
5
     or any other agent designated by Class Representatives’ Counsel based on distribution
6
     determinations or claim rejections made substantially in accordance with this Stipulation and the
7    Settlement contained herein, the Plan of Allocation, or orders of the Court. Class Counsel shall
8    have the right, but not the obligation, to waive what it deems to be formal or technical defects in
9    any Proofs of Claim filed, where doing so is in the interest of achieving substantial justice.
10                   7.5.   It is understood and agreed by the Parties that any proposed Plan of
11   Allocation of the Net Settlement Fund including, but not limited to, any adjustments to an
12   Authorized Claimant’s claim set forth therein, is not a condition of this Stipulation and is to be
13   considered by the Court separately from the Court’s consideration of the fairness,

14   reasonableness, and adequacy of the Settlement. Any order or proceedings relating to the Plan of

15   Allocation, or any appeal from any order relating thereto or reversal or modification thereof,

16   shall not operate to modify, terminate or cancel this Stipulation, or affect or delay the finality of

17   the Final Judgment and the releases contained therein, or any other orders entered pursuant to

18
     this Stipulation.

19
                     7.6.   If any funds remain in the Net Settlement Fund by reason of uncashed

20
     checks or otherwise, then, after the Claims Administrator has made reasonable and diligent
     efforts to have Authorized Claimants who are entitled to participate in the distribution of the Net
21
     Settlement Fund cash their distribution checks, any balance remaining in the Net Settlement
22
     Fund six (6) months after the initial distribution of such funds shall be used: (i) first, to pay any
23
     amounts mistakenly omitted from the initial distribution to Authorized Claimants who receive at
24
     least a $10.00 payment; (ii) second, to pay any additional Administrative Costs incurred in
25
     administering the Settlement; and (iii) finally, to make a second distribution to Authorized
26
     Claimants who cashed their checks from the initial distribution and who would receive at least




     STIPULATION OF SETTLEMENT                                 PRAESIDIO CONSUMER LAW PLLC
     20                                                        1916 Pike Place, Suite 12 Seattle, WA 98101 (646) 202-0629
             Case 2:17-cv-01387-JCC Document 173 Filed 03/31/23 Page 21 of 36



1
     $10.00 from such second distribution, after payment of the estimated costs or fees to be incurred
2
     in administering the Net Settlement Fund and in making this second distribution, if such second
3
     distribution is economically feasible. If any funds shall remain in the Net Settlement Fund six
4
     months after such second distribution, then such balance shall be contributed to a non-sectarian
5
     charity or any not-for-profit successor of it chosen by Class Counsel.
6
                    7.7.    Payment pursuant to this Stipulation shall be deemed final and conclusive
7    against all Claimants. All Claimants whose claims are not approved by the Court shall be barred
8    from participating in the distribution from the Net Settlement Fund, but otherwise shall be bound
9    by all of the terms of this Stipulation and the Settlement, including the terms of the Final
10   Judgment to be entered in this Action and the releases provided for herein, and will be barred
11   from bringing any action against the Released Parties concerning the Released Claims.
12                  7.8.    Any Settlement Class Member who does not submit a timely and valid
13   claim form will be bound by all of the terms of this Stipulation and the Settlement, including the

14   terms of the Judgment to be entered in the Action and the Releases provided for herein and

15   therein, and will be permanently barred and enjoined from bringing, commencing, instituting,

16   prosecuting, or continuing to prosecute any action, claim, or other proceeding of any kind against

17   the Released Parties with respect to the Released Claims in the event that the Effective Date

18
     occurs with respect to the Settlement.

19
                    7.9.    All proceedings with respect to the administration, processing, and

20
     determination of claims and all controversies relating thereto, including disputed questions of
     law and fact with respect to the validity of claims, shall be subject to the jurisdiction of this
21
     Court, but shall not delay or affect the finality of the Final Judgment.
22
                    7.10.   Neither the Parties nor their counsel shall have any responsibility for or
23
     liability whatsoever with respect to: (i) any act, omission, or determination of the Escrow Agent
24
     or the Claims Administrator, or any of their respective designees or agents, in connection with
25
     the administration of the Settlement Fund or otherwise; (ii) the Plan of Allocation; (iii) the
26
     determination, administration, calculation, or payment of any claims asserted against the




     STIPULATION OF SETTLEMENT                                  PRAESIDIO CONSUMER LAW PLLC
     21                                                         1916 Pike Place, Suite 12 Seattle, WA 98101 (646) 202-0629
            Case 2:17-cv-01387-JCC Document 173 Filed 03/31/23 Page 22 of 36



1
     Settlement Fund; (iv) any losses suffered by, or fluctuations in the value of, the Settlement Fund;
2
     or (v) the payment or withholding of any Taxes, expenses, and/or costs incurred in connection
3
     with the taxation of the Settlement Fund or the filing of any returns.
4
            8.      Class Representative’s Counsel’s Attorneys’ Fees and Reimbursement of
5
                    Expenses
6
                    8.1.    Class Counsel, on behalf of Class Representative’s Counsel’s, may submit
7    an application or applications (“Fee and Expense Application”) for distributions from the
8    Settlement Fund to Class Representative’s Counsel for a Fee and Expense Award consisting of:
9    (i) an award of attorneys’ fees from the Settlement Fund; (ii) reimbursement of actual costs and
10   expenses, including the fees and expenses of any experts or consultants, incurred in connection
11   with prosecuting the Action; and (iii) an Award to Class Representatives. Defendants shall take
12   no position with respect to the Fee and Expense Application(s).
13                  8.2.    Except as otherwise provided in this paragraph, the Fee and Expense

14   Award shall be paid to Class Counsel from the Settlement Fund immediately after the Court

15   enters the Final Judgment and an order awarding such fees and expenses, notwithstanding any

16   objections to or appeals of such order or of the Final Judgment. In the event that the Effective

17   Date does not occur, or the Final Judgment is reversed or modified in any way that affects the

18
     award of attorneys’ fees and expenses, or the Stipulation is terminated for any other reason, then

19
     Class Counsel shall be jointly and severally obligated to refund to the Escrow Account, within

20
     ten (10) Business Days from receiving notice from Defense Counsel or from a court of
     appropriate jurisdiction, either the full amount of the fees and expenses paid to Class Counsel or
21
     an amount consistent with any modification of the Final Judgment with respect to the Fee and
22
     Expense Award, including accrued interest at the same rate as is earned by the Settlement Fund.
23
     Class Representatives’ Counsel agrees that the law firm and its partners and/or shareholders are
24
     subject to jurisdiction of the Court for the purpose of enforcing the provisions of this paragraph,
25
     and they shall be jointly and severally liable for repayment of all attorneys’ fees and expenses
26
     awarded by the Court. Furthermore, without limitation, Class Counsel agrees that the Court may,




     STIPULATION OF SETTLEMENT                                 PRAESIDIO CONSUMER LAW PLLC
     22                                                        1916 Pike Place, Suite 12 Seattle, WA 98101 (646) 202-0629
             Case 2:17-cv-01387-JCC Document 173 Filed 03/31/23 Page 23 of 36



1
     upon application of Defendants, summarily issue orders, including, without limitation, judgments
2
     and attachment orders and may make appropriate findings of or sanctions for contempt against
3
     the firm should they fail timely to repay fees and expenses pursuant to this paragraph. Any
4
     Award to Class Representatives shall not be paid from the Settlement Fund until after the
5
     Effective Date.
6
                    8.3.    The procedure for, and allowance or disallowance by the Court of, the
7    Fee and Expense Application are not a condition of the Settlement set forth in this Stipulation
8    and are to be considered by the Court separately from the Court’s consideration of the fairness,
9    reasonableness, and adequacy of the Settlement set forth in this Stipulation. Any order or
10   proceeding relating to the Fee and Expense Application, or any objection to, motion regarding,
11   or appeal from any order or proceeding relating thereto or reversal or modification thereof, shall
12   not operate to modify, terminate, or cancel this Stipulation, or affect or delay the finality of the
13   Final Judgment or the releases contained therein or any other orders entered pursuant to this

14   Stipulation.

15                  8.4.    Any award of attorneys’ fees and interest and/or expenses to Class

16   Representative’s Counsel or Award to Class Representatives shall be paid solely from the

17   Settlement Fund and shall reduce the settlement consideration paid to the Settlement Class

18
     accordingly. No Released Party shall have any responsibility for payment of Class

19
     Representative’s Counsel’s attorneys’ fees and interest, expenses, or other Award to Class

20
     Representatives beyond the obligation of Defendants to cause the funding of the Settlement
     Amount as set forth in ¶ 2.1 above. The Released Parties shall have no responsibility for, and no
21
     liability whatsoever with respect to, any payments to Class Representative’s Counsel, Class
22
     Representatives, the Class and/or any other Person who receives payment from the Settlement
23
     Fund.
24
             9.     Conditions of Settlement, Effect of Disapproval, Cancellation or Termination
25
                    9.1.    Class Representatives, on behalf of the Class, and Defendants shall each
26
     have the right to terminate the Settlement and Stipulation by providing written notice of their




     STIPULATION OF SETTLEMENT                                 PRAESIDIO CONSUMER LAW PLLC
     23                                                        1916 Pike Place, Suite 12 Seattle, WA 98101 (646) 202-0629
             Case 2:17-cv-01387-JCC Document 173 Filed 03/31/23 Page 24 of 36



1
     election to do so (“Termination Notice”) to all other Parties within fourteen (14) business days
2
     of:
3
                            (a)        entry of a Court order declining to enter the Preliminary Approval
4
     Order in all material respects;
5
                            (b)        entry of a Court order refusing to approve this Stipulation in all
6
     material respects;
7                           (c)        entry of a Court order declining to enter the Final Judgment in all
8    material respects, provided, however, that this Settlement is expressly not conditioned on the
9    Court’s approval of the proposed Plan of Allocation, nor on the Court’s approval of Class
10   Counsel’s Fee and Expense Application(s), and any change in the Judgment relating to these
11   items shall not be considered a material change;
12                          (d)        entry of a Court order refusing to dismiss the Action with
13   prejudice; or

14                          (e)        entry of an order by which the Final Judgment is modified or

15   reversed in any material respect by any appeal or review.

16                   9.2.   If the Settlement Amount is not paid into the Escrow Account in

17   accordance with ¶2.1 of this Stipulation, then Class Representatives, on behalf of the Class, shall

18
     have the right in their sole discretion to either: (a) terminate the Settlement and Stipulation by

19
     providing written notice to Defendants at any time prior to the Court’s entry of the Final

20
     Judgment; or (b) enforce the terms of the Settlement and this Stipulation and seek a judgment
     effecting the terms herein.
21
                     9.3.   If any Party engages in a material breach of the terms hereof, any other
22
     Party, provided that it is in substantial compliance with the terms of this Stipulation, may
23
     terminate this Stipulation on notice to all the Parties.
24
                     9.4.   The Effective Date of this Stipulation shall be the first business day on
25
     which all of the following events occurs, provided that the Effective Date shall not occur if
26
     Zillow has exercised its option to terminate the Settlement Agreement pursuant to ¶9.3:




     STIPULATION OF SETTLEMENT                                   PRAESIDIO CONSUMER LAW PLLC
     24                                                          1916 Pike Place, Suite 12 Seattle, WA 98101 (646) 202-0629
             Case 2:17-cv-01387-JCC Document 173 Filed 03/31/23 Page 25 of 36



1
                             (a)      The Court has entered the Preliminary Approval Order attached
2
     hereto as Exhibit A or an order containing materially the same terms;
3
                             (b)      The Settlement Amount has been paid to the Escrow Account, as
4
     set forth in ¶2.1 above;
5
                             (c)      The Court has approved the Settlement, following notice to the
6
     Class and the Settlement Hearing, and has entered the Final Judgment;
7                            (d)      The Final Judgment has become Final as defined in ¶1.20; and
8                            (e)      The Action has been dismissed with prejudice.
9                    9.5.    Upon the occurrence of the Effective Date, any and all interest or right of
10   Defendants in or to the Settlement Fund, shall be absolutely and forever extinguished, except as
11   set forth in this Stipulation.
12                   9.6.    In the event that some or all of the conditions specified in ¶9.4 above are
13   not met, the Parties may agree in writing nevertheless to proceed with this Stipulation and

14   Settlement. However, none of the Parties, or any of them, shall have any obligation whatsoever

15   to proceed under any terms other than those provided for and agreed herein.

16                   9.7.    In the event the Stipulation shall be terminated, or be canceled, or shall not

17   become effective for any reason, the Parties and the Released Parties shall be restored to their

18
     respective positions in the Action immediately prior to October 11, 2022, and they shall proceed

19
     in all respects as if the Stipulation had not been executed and the related orders had not been

20
     entered, and in that event all of their respective claims and defenses as to any issue in the Action
     shall be preserved without prejudice.
21
                     9.8.    In the event that the Stipulation is not approved by the Court or the
22
     Settlement set forth in this Stipulation is terminated or fails to become effective in accordance
23
     with its terms, the terms and provisions of this Stipulation, except as otherwise provided herein,
24
     shall have no further force and effect with respect to the Parties or the Released Parties and shall
25
     not be used in the Action or in any other proceeding for any purpose, and any judgment or order
26




     STIPULATION OF SETTLEMENT                                  PRAESIDIO CONSUMER LAW PLLC
     25                                                         1916 Pike Place, Suite 12 Seattle, WA 98101 (646) 202-0629
             Case 2:17-cv-01387-JCC Document 173 Filed 03/31/23 Page 26 of 36



1
     entered by the Court in accordance with the terms of this Stipulation shall be treated as vacated,
2
     nunc pro tunc.
3
                      9.9.    In the event that the Stipulation shall be terminated, or be canceled, or
4
     shall not become effective for any reason, within seven (7) Business Days after the occurrence of
5
     such event, the Settlement Fund (less taxes already paid and any Administrative Costs which
6
     have either been disbursed or are determined to be chargeable) shall be refunded by the Escrow
7    Agent to the entity or entities which paid the Settlement Fund, in proportion to their contribution
8    to the Settlement Fund, plus accrued interest attributable to that amount by check or wire transfer
9    pursuant to written instructions from said entity or entities. At the request of said entity or
10   entities the Escrow Agent or its designee shall apply for any tax refund owed on the Settlement
11   Fund and pay the proceeds, after deduction of any fees or expenses incurred in connection with
12   such application(s) for refund, to said entity or entities pursuant to written direction received
13   from said entity or entities.

14                    9.10.   No order of the Court (or modification or reversal on appeal of any order

15   of the Court) concerning the Plan of Allocation, or the Fee and Expense Application shall

16   constitute grounds for cancellation or termination of the Stipulation.

17           10.      No Admission of Liability or Wrongdoing

18
                      10.1.   The Parties covenant and agree that neither this Stipulation, nor the fact

19
     nor any terms of the Settlement, nor any communication relating thereto, is evidence, or an

20
     admission, presumption or concession by any Party, or their counsel, any Class Member, or any
     of the Released Parties, of any fault, liability or wrongdoing whatsoever, as to any facts or claims
21
     alleged or that have been or could have been asserted in the Action, or in any other actions or
22
     proceedings, or as to the validity or merit of any of the claims or defenses alleged or that have
23
     been or could have been asserted in any such action or proceeding. This Stipulation is not a
24
     finding or evidence of the validity or invalidity of any claims or defenses in the Action, any
25
     wrongdoing by any Party, Class Member, or any of the Released Parties, or any damages or
26




     STIPULATION OF SETTLEMENT                                 PRAESIDIO CONSUMER LAW PLLC
     26                                                        1916 Pike Place, Suite 12 Seattle, WA 98101 (646) 202-0629
            Case 2:17-cv-01387-JCC Document 173 Filed 03/31/23 Page 27 of 36



1
     injury to any Party, Settlement Class Member, or any Released Parties. The Parties acknowledge
2
     that Defendants make no admission of fault, liability, or wrongdoing.
3
                    10.2.   Whether or not the Settlement, as embodied in this Stipulation, is
4
     approved by the Court, and whether or not this Settlement is consummated, the fact and terms of
5
     this Settlement, this Stipulation, and any relates statements, negotiations, or proceedings, shall
6
     not be offered or received:
7                           (a)    against the Released Parties, Class Representatives or the other
8    Class Members as evidence of, or be deemed to be evidence of, any presumption, concession or
9    admission by any of the Released Parties or by Class Representatives or the other Class
10   Members with respect to the truth of any fact alleged by Class Representatives or the validity,
11   or lack thereof, of any claim that has been or could have been asserted in the Action or in any
12   litigation, or the deficiency of any defense that has been or could have been asserted in the
13   Action or in any litigation, or of any liability, negligence, fault or wrongdoing of the Released

14   Parties;

15                  (b)     against the Released Parties as evidence of a presumption, concession or

16   admission of any wrongdoing, fault, or liability, including (without limitation) any

17   misrepresentation, omission, or violation of the securities laws alleged in the Second

18
     Consolidated Amended Complaint;

19
                    (c)     against the Released Parties, Class Representatives or the other Class

20
     Members as evidence of a presumption, concession or admission with respect to any liability,
     negligence, fault, misrepresentation, omission, or wrongdoing, or in any way referred to for any
21
     other reason as against any of the foregoing parties, in any arbitration proceeding or other civil,
22
     criminal or administrative action or proceeding, or other           action or proceeding; provided,
23
     however, that the Released Parties and the Class Representatives’ Released Parties may refer to
24
     this Settlement to enforce its terms, including (without limitation) any release from liability
25
     granted hereunder; shall not be construed against the Released Parties, Defense Counsel, Class
26
     Counsel or Class Representatives or the other Class Members as an admission or concession that




     STIPULATION OF SETTLEMENT                                PRAESIDIO CONSUMER LAW PLLC
     27                                                       1916 Pike Place, Suite 12 Seattle, WA 98101 (646) 202-0629
             Case 2:17-cv-01387-JCC Document 173 Filed 03/31/23 Page 28 of 36



1
     the consideration to be paid hereunder represents the amount which could be or would have been
2
     recovered after trial; and shall not be construed as or received in evidence as an admission,
3
     concession or presumption against Class Representatives or the other Class Members or any of
4
     them that any of their claims are without merit or that damages recoverable in the Action would
5
     not have exceeded the Settlement Amount.
6
            11.        Miscellaneous Provisions
7                      11.1.   Except in the event of the provision of a Termination Notice pursuant to
8    ¶9 of this Stipulation, the Parties shall take all actions necessary to consummate this agreement;
9    and agree to cooperate with each other to the extent reasonably necessary to effectuate and
10   implement all terms and conditions of the Stipulation.
11                     11.2.   Neither Class Representatives nor their counsel will issue any public
12   statement or press release relating to the Settlement without the prior approval of Defendants,
13   which shall not be unreasonably withheld. Class Representatives will send a draft of any

14   proposed public statement or press release forty-eight (48) hours before such announcement is

15   made for review, comment, and approval by Defendants.

16                     11.3.   The Parties and their counsel represent that they will not encourage or

17   otherwise influence (or seek to influence) in any way whatsoever any Class Members to object to

18
     the Settlement.

19
                       11.4.   Each of the attorneys executing this Stipulation, any of its exhibits, or any

20
     related settlement documents on behalf of any Party hereto hereby warrants and represents that
     he or she has been duly empowered and authorized to do so by the Party he or she represents.
21
                       11.5.   All of the exhibits to the Stipulation, except any plan of allocation to the
22
     extent incorporated in those exhibits, are material and integral parts hereof and are fully
23
     incorporated herein by this reference. Notwithstanding the foregoing, in the event that there
24
     exists a conflict or inconsistency between the terms of this Stipulation and the terms of any
25
     exhibit attached hereto, the terms of the Stipulation shall prevail.
26




     STIPULATION OF SETTLEMENT                                    PRAESIDIO CONSUMER LAW PLLC
     28                                                           1916 Pike Place, Suite 12 Seattle, WA 98101 (646) 202-0629
             Case 2:17-cv-01387-JCC Document 173 Filed 03/31/23 Page 29 of 36



1
                    11.6.      This Stipulation and its exhibits constitute the entire agreement between
2
     the Parties related to the Settlement and supersedes any prior agreements. No representations,
3
     warranties, promises, inducements or other statements have been made to or relied upon by any
4
     Party concerning this Stipulation, other than the representations, warranties and covenants
5
     expressly set forth herein. Class Representatives, on behalf of themselves and the Class,
6
     acknowledge and agree that any and all other representations and warranties of any kind or
7    nature, express or implied, are specifically disclaimed and were not relied upon in connection
8    with this Stipulation. In entering this Stipulation, the Parties relied solely upon their own
9    knowledge and investigation. Except as otherwise provided herein, each Party shall bear his, her,
10   or its own costs.
11                  11.7.      This Stipulation may not be modified or amended, nor may any of its
12   provisions be waived, except by a writing signed by all Parties or their counsel or their respective
13   successors in interest.

14                  11.8.      This Stipulation shall be binding upon, and shall inure to the benefit of,

15   the Parties and their respective agents, successors, executors, heirs, and assigns.

16                  11.9.      The Released Parties who do not appear on the signature lines below are

17   acknowledged and agreed to be third party beneficiaries of this Stipulation and Settlement.

18
                    11.10. The headings herein are used for the purpose of convenience only and are

19
     not meant to have legal effect.

20
                    11.11. This Stipulation may be executed in any number of counterparts by any of
     the signatories hereto and the transmission of an original signature page electronically (including
21
     by facsimile or portable document format) shall constitute valid execution of the Stipulation as if
22
     all signatories hereto had executed the same document. Copies of this Stipulation executed in
23
     counterpart shall constitute one agreement.
24
                    11.12. This Stipulation, the Settlement, and any all disputes arising out of or
25
     relating in any way to this Stipulation, whether in contract, tort or otherwise, shall be governed
26




     STIPULATION OF SETTLEMENT                                  PRAESIDIO CONSUMER LAW PLLC
     29                                                         1916 Pike Place, Suite 12 Seattle, WA 98101 (646) 202-0629
             Case 2:17-cv-01387-JCC Document 173 Filed 03/31/23 Page 30 of 36



1
     by and construed in accordance with the laws of the State of Washington without regard to
2
     conflict of laws principles.
3
                    11.13. The Court shall retain jurisdiction with respect to the implementation and
4
     enforcement of the terms of this Stipulation, and all Parties hereto submit to the jurisdiction of
5
     the Court for purposes of implementing and enforcing the Settlement embodied in this
6
     Stipulation.
7                   11.14. The Stipulation shall not be construed more strictly against one Party than
8    another merely by virtue of the fact that it, or any part of it, may have been prepared by counsel
9    for one of the Parties, it being recognized that it is the result of arm’s-length negotiations
10   between the Parties, and all Parties have contributed substantially and materially to the
11   preparation of this Stipulation.
12                  11.15. All agreements by, between or among the Parties, their counsel and their
13   other advisors as to the confidentiality of information exchanged between or among them shall

14   remain in full force and effect, and shall survive the execution and any termination of this

15   Stipulation and the final consummation of the Settlement, if finally consummated, without regard

16   to any of the conditions of the Settlement.

17                  11.16. The Parties intend the Settlement to be the full, final, and complete

18
     resolution of all claims asserted or that could have been asserted by the Parties with respect to

19
     the Released Claims. Accordingly, the Parties agree not to assert in any forum that the Action

20
     was brought, prosecuted, or defended in bad faith or without a reasonable basis. The Parties and
     their respective counsel agree that each has complied fully with Rule 11 of the Federal Rules of
21
     Civil Procedure in connection with the maintenance, prosecution, defense, and settlement of the
22
     Action. The Parties shall not assert or pursue any action, claim or rights that any Party violated
23
     any provision of Rule 11 of the Federal Rules of Civil Procedure and/or the Private Securities
24
     Litigation Reform Act of 1995 in connection with the Action, the Settlement, or the Stipulation.
25
     The Parties agree that the Action was resolved in good faith following arm’s-length bargaining,
26
     in full compliance with applicable requirements of good faith litigation under the Securities




     STIPULATION OF SETTLEMENT                                PRAESIDIO CONSUMER LAW PLLC
     30                                                       1916 Pike Place, Suite 12 Seattle, WA 98101 (646) 202-0629
            Case 2:17-cv-01387-JCC Document 173 Filed 03/31/23 Page 31 of 36



1
     Exchange Act of 1934, Rule 11 of the Federal Rules of Civil Procedure, and/or the Private
2
     Securities Litigation Reform Act of 1995.
3
                    11.17. Any failure by any of the Parties to insist upon the strict performance by
4
     any other Party of any of the provisions of the Stipulation shall not be deemed a waiver of any of
5
     the provisions hereof, and such Party, notwithstanding such failure, shall have the right thereafter
6
     to insist upon the strict performance of any and all of the provisions of this Stipulation to be
7    performed by the other Parties to this Stipulation.
8                   11.18. Nothing in the Stipulation, or the negotiations relating thereto, is intended
9    to or shall be deemed to constitute a waiver of any applicable privilege or immunity, including,
10   without limitation, attorney-client privilege, joint defense privilege, or work product protection.
11                  11.19. The waiver, express or implied, by any Party of any breach or default by
12   any other Party in the performance of such Party of its obligations under the Stipulation shall not
13   be deemed or construed to be a waiver of any other breach, whether prior, subsequent, or

14   contemporaneous, under this Stipulation.

15                  11.20. The Parties reserve the right, subject to the Court’s approval, to make any

16   reasonable extensions of time that might be necessary to carry out any of the provisions of this

17   Stipulation.

18
                    11.21. The Parties agree that, other than disclosures required by law, any public

19
     comments from the Parties regarding this resolution will not substantially deviate from words to

20
     the effect that the Parties have reached a mutually acceptable negotiated resolution of the Action.
     For the avoidance of doubt, however, nothing herein shall be construed to apply to comments
21
     and related arguments provided by any Party to the Court (including in Court filings) in the
22
     context of seeking approval of the Settlement.
23
                    11.22. Whether or not this Stipulation is approved by the Court and whether or
24
     not the settlement embodied in this Stipulation is consummated, the Parties and their counsel
25
     shall keep all negotiations, discussions, acts performed, agreements, drafts, documents signed
26
     and proceedings had in connection with this Stipulation confidential. Notwithstanding the




     STIPULATION OF SETTLEMENT                                 PRAESIDIO CONSUMER LAW PLLC
     31                                                        1916 Pike Place, Suite 12 Seattle, WA 98101 (646) 202-0629
            Case 2:17-cv-01387-JCC Document 173 Filed 03/31/23 Page 32 of 36



1
     foregoing, the Parties agree that this Stipulation may be filed publicly as part of any motion for
2
     preliminary or final approval of the settlement.
3
            IN WITNESS WHEREOF, the Parties have executed this Stipulation by their
4
     undersigned counsel effective as of the date set forth below.
5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26




     STIPULATION OF SETTLEMENT                                PRAESIDIO CONSUMER LAW PLLC
     32                                                       1916 Pike Place, Suite 12 Seattle, WA 98101 (646) 202-0629
           Case 2:17-cv-01387-JCC Document 173 Filed 03/31/23 Page 33 of 36



1    Dated: March _31_, 2023              THE ROSEN LAW FIRM, P.A.
2
                                          By: _________________________
3
                                          Laurence M. Rosen, Esq. (pro hac vice)
                                          Email: lrosen@rosenlegal.com
4                                         Jonathan Stern, Esq. (pro hac vice)
                                          Email: jstern@rosenlegal.com
5                                         275 Madison Avenue, 40th Floor
                                          New York, NY 10016
6
                                          Telephone: (212) 686-1060
7
                                          Facsimile: (213) 226-4684

8                                         Class Counsel

9
                                          PRAESIDIO CONSUMER LAW PLLC
10                                        Colin M. George, WSBA No. 45131
                                          1916 Pike Place, Suite 12
11
                                          Seattle, WA 98101
12                                        (646) 202-0629
                                          cgeorge@praesidio.law
13

14
                                          Local Counsel for Class Representatives
15
     Dated: March ____, 2023              MAYER BROWN LLP
16
                                          By: _________________________
17                                        Joseph De Simone (pro hac vice)
                                          Matthew D. Ingber (pro hac vice)
18
                                          Michelle Annunziata (pro hac vice)
19
                                          1221 Avenue of the Americas
                                          New York, New York 10020
20                                        (212) 506-2500
                                          mingber@mayerbrown.com
21                                        jdesimone@mayerbrown.com
22
                                          Kelly Kramer (pro hac vice)
23
                                          1999 K Street N.W.
                                          Washington, D.C. 20006
24                                         (202) 263-3000

25                                        Counsel for Defendants
26




     STIPULATION OF SETTLEMENT                   PRAESIDIO CONSUMER LAW PLLC
     33                                          1916 Pike Place, Suite 12 Seattle, WA 98101 (646) 202-0629
           Case 2:17-cv-01387-JCC Document 173 Filed 03/31/23 Page 34 of 36



1    Dated: March ____, 2023              PERKINS COIE LLP
2
                                          By: _________________________
3
                                          Sean C. Knowles, WSBA No. 39893
                                          1201 Third Avenue, Suite 4900
4                                         Seattle, WA 98101
                                          (206) 359-8000
5                                          sknowles@perkinscoie.com
6
                                          Counsel for Defendants
7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26




     STIPULATION OF SETTLEMENT                   PRAESIDIO CONSUMER LAW PLLC
     34                                          1916 Pike Place, Suite 12 Seattle, WA 98101 (646) 202-0629
           Case 2:17-cv-01387-JCC Document 173 Filed 03/31/23 Page 35 of 36



1    Dated: March ____, 2023              THE ROSEN LAW FIRM, P.A.
2
                                          By: _________________________
3
                                          Laurence M. Rosen, Esq. (pro hac vice)
                                          Email: lrosen@rosenlegal.com
4                                         Jonathan Stern, Esq. (pro hac vice)
                                          Email: jstern@rosenlegal.com
5                                         275 Madison Avenue, 40th Floor
                                          New York, NY 10016
6
                                          Telephone: (212) 686-1060
7
                                          Facsimile: (213) 226-4684

8                                         Class Counsel

9
                                          PRAESIDIO CONSUMER LAW PLLC
10                                        Colin M. George, WSBA No. 45131
                                          1916 Pike Place, Suite 12
11
                                          Seattle, WA 98101
12                                        (646) 202-0629
                                          cgeorge@praesidio.law
13

14
                                          Local Counsel for Class Representatives
15
     Dated: March ____,
                   31 2023                MAYER BROWN LLP
16
                                          By: _________________________
17                                        Joseph De Simone (pro hac vice)
                                          Matthew D. Ingber (pro hac vice)
18
                                          Michelle Annunziata (pro hac vice)
19
                                          1221 Avenue of the Americas
                                          New York, New York 10020
20                                        (212) 506-2500
                                          mingber@mayerbrown.com
21                                        jdesimone@mayerbrown.com
22
                                          Kelly Kramer (pro hac vice)
23
                                          1999 K Street N.W.
                                          Washington, D.C. 20006
24                                         (202) 263-3000

25                                        Counsel for Defendants
26




     STIPULATION OF SETTLEMENT                   PRAESIDIO CONSUMER LAW PLLC
     33                                          1916 Pike Place, Suite 12 Seattle, WA 98101 (646) 202-0629
           Case 2:17-cv-01387-JCC Document 173 Filed 03/31/23 Page 36 of 36



1    Dated: March ____,
                   31 2023                PERKINS COIE LLP
2
                                          By: _________________________
                                              ________________________
3
                                          Sean C. Knowles, WSBA No. 39893
                                          1201 Third Avenue, Suite 4900
4                                         Seattle, WA 98101
                                          (206) 359-8000
5                                          sknowles@perkinscoie.com
6
                                          Counsel for Defendants
7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26




     STIPULATION OF SETTLEMENT                   PRAESIDIO CONSUMER LAW PLLC
     34                                          1916 Pike Place, Suite 12 Seattle, WA 98101 (646) 202-0629
